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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia



                                                     September 28, 2021

By USAfx
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                              Re:    United States v. Michael Joseph Foy
                                     Criminal No.: 21-cr-108 (TSC)

Dear Counsel:

       As part of our ongoing discovery production in this case, you will receive an invitation via

USAFx to download reports from U.S. Capitol Police (USCP) investigations of alleged

wrongdoing by USCP officers on January 6, 2021.            Officer names, witness names, and

complainant names have been redacted. We are working to produce a set of reports that replaces

the redactions with unique identifiers for individuals whose names have been redacted. When that
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process is complete, we will reproduce the documents with the unique identifiers. Additional

exhibits from these investigations are forthcoming. At this time, we understand that a small

number of investigations are still on-going, and we will provide reports of those investigations on

a rolling basis as they are concluded.

       If you have any questions about the information provided above, you may contact me by

telephone, fax, or mail as provided below.


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                                                     Respectfully,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY

                                             By:     _/s/ Emory V. Cole_______
                                                     Emory V. Cole
                                                     Assistant United States Attorney




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